                                                                                      FILED
                                                                                SEP·2':4 2020
                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION                                 BY
                                                                               UStr~
                                                                              PETER    I   CuuRT, CLERKC
                                                                                                  EON
                                                                                                 DEPCU<

                               CASE NO. 7:19-CR-127-D


UNITED STATES OF AMERICA                  )
                                          )
      V.                                 )        CRIMINAL INFORMATION.
                                         )
JESSE GABRIEL MARKS                      )


The United States Attorney charges:
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      B~ginning in,or:aboutDeceniber 2017 and continuing to in or about September

2018, in the Eastern District of North Carolina, the defendant, JESSE GABRIEL

MARKS, :in .and affecting-interstate_ and foreign commerce, knowingly recruited,

enticed, ..harbored, transported, provided, obtained, and maintained a person having
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the initials -,R.L., •knowing and in :reckless disregard of the fact that means of force,

threats of force, fraud, coercion,,arid any combination of such means would be used to

cause R.L. to engage in a commercial sex act, in violation of Title 18, United States

Code, Section 1591(a)(l) and (b)(l).


                               FORFElTURE NOTICE                        I:
            .     "il.             •- - :                             11
      The defendant is hereby given notice that all of the defendant'.s interest in all
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of the property specifieq hereinis subject to forfeiture.

      Upon conviction of one or more of the offense(s) set forth in this Information,

the defendant shall forfe;Joto the Unite~ States, pursuant to Title 18, Un~~ed States

Code, Section 1594(d), all their right, title, and interest in:


                                                                  .,.
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       1.      Any property, real or personal, that was used or intended to be used to

commit or to facilitate the commission of such violation; and

       2.      Any property, real or personal, constituting or derived from, any

proceeds that such person obtained, directly or indirectly,· as a result of such violation.

      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant-

   (1) cannot be located upon the exercise of due diligence;

   (2) has been transferred or sold to, or deposited with, a third party;

   (3) has been placed beyond the jurisdiction of the court;

   (4) has been substantially diminished in value; or

   (5) has been commingled with other property which cannot be divided without

       difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property described above.

                                         ROBERT J. HIGDON, JR.
                                         United States Attorney

                                         BY:    ~    C.
                                         ERIN C. BLONDEL,
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                                         Assistant United State~ Attorney
                        I ,
                I   .
                        \                Criminal Division - 1 · / •

                                         BY:    (hvc. ~ ;p I                   A'1

                                         BRYAN M. STEPHANY                  ~    t
                                         Assistant United States Attd1fney
                                         Criminal Division
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